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                                IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MARYLAND

CARL MARTIN                                                *

           Plaintiff                                       *

v.                                                         *       Civil Action No. 1:09-cv-00192-RDB

G.C. SERVICES, LP                                          *

           Defendant                                       *

       *      *    *    *     *     *     *    *   *   *       *    *   *   *   *   *   *   *   *    *

                                          NOTICE OF SETTLEMENT

           Plaintiff Carl Martin and Defendant G.C. Services, L.P., by their respective undersigned

counsel, respectfully notify this Court that the parties have reached settlement of all claims

alleged or asserted in the above-captioned action and request that this Court issue a Settlement

Order pursuant to Local Rule 111.

             /s/                                                            /s/
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[*signed by James M. Connolly with
permission of Forrest E. Mays]


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